Case 4:11-cv-00655-ALM Document 185 Filed 04/05/13 Page 1 of 2 PageID #: 3237




                          **NOT FOR PRINTED PUBLICATION**

                         IN THE UNITED STATED DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

SECURITIES AND EXCHANGE                        §
COMMISSION,                                    §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §       Civil Action No. 4:11-cv-655
                                               §       (Judge Clark/Judge Mazzant)
JAMES G. TEMME and                             §
STEWARDSHIP FUND, LP,                          §
                                               §
       Defendants.                             §

 ORDER GRANTING RECEIVER’S SECOND INTERIM APPLICATION TO ALLOW
AND PAY (1) RECEIVER’S FEES AND EXPENSES; AND (2) ATTORNEYS’ FEES AND
                              EXPENSES

       Before the court is the Receiver’s Second Interim Application to Allow and Pay (1)

Receiver’s Fees and Expenses; and (2) Attorneys’ Fees and Expenses (the “Application”) [Doc.

#183], which requests reimbursement for fees incurred for the time period from March 1, 2012

through December 31, 2012. The Receiver seeks to pay Bryan Cave LLP (“BC”) $195,238.29,

representing $181,958.00 in interim fees (80% of $227,447.50 in fees) and $13,318.69 in interim

expenses (100% of $13,318.69 in expenses).

       No opposition has been filed to this Application. Counsel for the Commission has reviewed

the fee application and been afforded the opportunity to object, but does not object to the relief

sought. Based upon a review of the Application and the pleadings on file, the Court finds and

concludes that (a) the relief requested in the Application is in the best interests of the Receiver and


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Case 4:11-cv-00655-ALM Document 185 Filed 04/05/13 Page 2 of 2 PageID #: 3238




his receivership estates; (b) proper and adequate notice of the Application has been given and that

no other or further notice is necessary; and (c) good and sufficient cause exists for the granting of

the relief requested in the Application after having given due deliberation upon the Application and

all of the proceedings had before the Court in connection with the Application. Therefore, it is

hereby ORDERED that:

       i.      The Application is GRANTED.

       ii.     The Court approves, on an interim basis, the fees ($181,958.00) and expenses

($13,318.69) incurred by the Receiver from March 1, 2012 through December 31, 2012.

       iii.    The Receiver is authorized to immediately pay BC the total sum of $195,238.29,

               representing $181,958.00 in interim fees (80% of $227,447.50 in fees) and

               $13,318.69 in interim expenses (100% of $13,318.69 in expenses) for the time period

               from March 1, 2012 through December 31, 2012.

                  So ORDERED and SIGNED this 4 day of April, 2013.




                                                                ___________________________________
                                                                Ron Clark, United States District Judge
